
Murdock,
dissenting: Stock and bonds of the purchaser formed the consideration paid for the assets. No assets were acquired by the issuance of the common stock, instead it was issued to Hermann for other purposes. The total par value of the bonds and preferred stock issued for assets amounted to $1,459,610.87. The assets cer*493tainly did not cost the petitioner approximately $2,000,000 more than the par value of these securities. If one were to assume that the common stock was issued for assets, still a value of about $20 per share would have to be attributed to it in order to absorb the difference between the par value of the bonds and. preferred stock and the cost of the assets as determined in the prevailing opinion. The cost of the assets as determined by the Commissioner should be approved.
